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Exhibit G
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Attorneys for Defendant Watchtower Bible and Tract Society ofNew York, Inc.
                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA ~ Cause No. CV 20-52-BLG-SPW
MAPLEY,                      )
                             ) DEFENDANT WATCHTOWER
          Plaintiffs,        ) BIBLE AND TRACT SOCIETY OF
                             )
                             ) NEW YORK INC.'S
      vs.                    ) SUPPLEMENTAL ANSWERS TO
                             ) PLAINTIFFS' FIFTH SET OF
                             )
WATCHTOWER BIBLE AND         )
                               INTERROGATORIES
TRACT SOCIETY OF NEW YORK, )
INC., WATCH TOWER BIBLE AND )
                             )
TRACT SOCIETY OF             )
PENNSYLVANIA, and BRUCE      )
MAPLEY SR.,                  )
                                                       )
                                                       )
                 Defendants.                           )
                                                       )
                                                       )
                                                       )
WATCHTOWER BIBLE AND                                   )
TRACT SOCIETY OF NEW YORK,                             )
INC.                                                   )
                                                       )
                                                       )

Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
                                              Interrogatories- 1
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                    Cross-Claimant,                    )
                                                       )
                                                       )
vs.                                                    )
                                                       )
                                                       )
BRUCE MAPLEY SR.,                                      )
                                                       )
                     Cross-Claim Defendant. )
                                                       )
                                                       )



TO:     Plaintiffs and their counsel, Robert L. Stepans, Ryan R. Shaffer, and James C.
        Mumion, MEYER SHAFFER & STEPANS PLLP, 430 Ryman Street,
        Missoula, MT 59802

        COMES NOW Defendant Watchtower Bible and Tract Society of New

York, Inc. (hereinafter "WTNY"), by and through its attorneys, and provides its

Supplemental Answers to Plaintiffs' Fifth Set of Interrogatories to Defendant

WTNY:

                                       INTERROGATORIES

        INTERROGATORY NO. 26: Identify all complaints of inappropriate

sexual contact that have ever been made against Bruce Mapley, Sr. For each

complaint, state:

            a) When the complaint was made;

            b) Who made the complaint;

            c) What is alleged to have occurred;

            d) Who was notified of the complaint;

            e) Whether any WTNY was ever been notified of the complaint; and

Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
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             f) Whether WTNY took any action in response to the complaint.

        ANSWER: WTNY objects on the grounds that this Interrogatory goes

beyond the 25 interrogatory limit provided in Rule 33(a)(l), Fed.R.Civ.P. See, e.g.,

Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). When a party is

confronted with what it believes to be an excessive number of interrogatories, the

appropriate course of action is to either move for a protective order before

answering any interrogatories or "answer up to the numerical limit and object to

the remainder without answering." Capacchione v. Charlotte-Mecklenburg Schs.,

182 F.R.D. 486,493 n.4 (W.D.N.C. 1998) (citing 7 Moore's Federal Practice§

33.30[1]). See also Superior Sales W, Inc. v. Gonzalez, 335 F.R.D. 98, 103, 106

Fed. R. Serv. 3d 1833, 2020 WL 2761156 (W.D. Tex. 2020) (upholding specific

objection to interrogatories exceeding twenty-five interrogatory without leave of

Court and striking them); Traina v. Blanchard, No. CIV.A. 97-348, 1998 WL

178762, at *4 (E.D. La. Apr. 15, 1998) (interrogatories exceeding 25 without leave

of court are improper and do not need to be answered). Accordingly, WTNY

refuses to answer any further interrogatories as Plaintiffs have exceeded the limit

imposed by Rule 33(a)(l), Fed.R.Civ.P. WTNY further objects to this

Interrogatory to the extent that it seeks infonnation protected by the attorney-client

and clergy-penitent privileges. See WTNY' s Second Supplemental Privilege Log.

WTNY also objects to this Interrogatory in that it is vague and ambiguous as to the


Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
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terms "complaints" and "inappropriate sexual contact" and "took any action."

WTNY further objects to the extent Interrogatory subpart (f) assumes the existence

of a non-existent duty. WTNY also objects to the extent this Interrogatory is

unreasonably cumulative and duplicative of the immediately preceding

interrogatory.

        FIRST SUPPLEMENTAL ANSWER: WTNY objects on the grounds that

this Interrogatory goes beyond the 25 interrogatory limit provided in Rule 33(a)(l),

Fed.R.Civ.P. See, e.g., Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3,

2020). WTNY fu1iher objects to this Interrogatory to the extent that it seeks

information protected by the attorney-client and clergy-penitent privileges. See

WTNY's Fourth Supplemental Privilege Log. WTNY also objects to this

Interrogatory in that it is vague and ambiguous as to the terms "complaints" and

"inappropriate sexual contact" and "took any action." WTNY further objects to the

extent Interrogatory subpart (f) assumes the existence of a non-existent duty.

Subject to and without waiving these objections, WTNY provides the only non-

privileged information in its possession as follows based on the allegations of

Plaintiffs Tracy Caekaert, Camillia Mapley, and Jamie Schulze:

            a) 2020.

            b) Plaintiffs Tracy Caekaert, Camillia Mapley, and Jamie Schulze.




Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
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            c) According to Plaintffs, Bruce Mapley sexually abused them over the

                 course of several years.

            d) As to Tracy Caekaert, Shirley Mapley claims she was notified of the

                 allegations. As to Camillia Mapley and Jamie Schulze, unknown.

                 WTNY was notified in 2020 when it was served with Plaintiffs'

                 lawsuits.

            e) See answer to subpart d.

            f) WTNY was precluded from taking action as it became aware only

                 after the abuse had ended and Plaintiffs were legal adults.

        INTERROGATORY NO. 27: Identify every individual that Gunnar Hain,

has been alleged or accused of having inappropriate sexual contact with. For each

individual, please state:

            a) The name of the individual he was accused of having inappropriate

                 contact with;

            b) When the inappropriate contact was alleged to have occurred;

            c) How you received notice of the complaint of inappropriate contact;

                 and

            d) What action you took in response to the complaint of inappropriate

                 contact.




Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
                                              Interrogatories- 5
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        ANSWER: WTNY objects on the grounds that this Interrogatory goes

beyond the 25 interrogatory limit provided in Rule 33(a)(l), Fed.R.Civ.P. See, e.g.,

Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). When a party is

confronted with what it believes to be an excessive number of interrogatories, the

appropriate course of action is to either move for a protective order before

answering any interrogatories or "answer up to the numerical limit and object to

the remainder without answering." Capacchione v. Charlotte-Mecklenburg Schs.,

182 F.R.D. 486,493 n.4 (W.D.N.C. 1998) (citing 7 Moore's Federal Practice§

33.30[1]). See also Superior Sales W, Inc. v. Gonzalez, 335 F.R.D. 98, 103, 106

Fed. R. Serv. 3d 1833, 2020 WL 2761156 (W.D. Tex. 2020) (upholding specific

objection to interrogatories exceeding twenty-five interrogatory without leave of

Court and striking them); Traina v. Blanchard, No. CIV.A. 97-348, 1998 WL

178762, at *4 (E.D. La. Apr. 15, 1998) (interrogatories exceeding 25 without leave

of court are improper and do not need to be answered). Accordingly, WTNY

refuses to answer any further interrogatories as Plaintiffs have exceeded the limit

imposed by Rule 33(a)(l), Fed.R.Civ.P. WTNY further objects to this

Interrogatory to the extent that it seeks information protected by the attorney-client

and clergy-penitent privileges. See WTNY' s Second Supplemental Privilege Log.

WTNY also objects to this Interrogatory in that it is vague and ambiguous as to the

terms "inappropriate sexual contact" and "complaint" and "action you took."


Defendant Watchtower Bible and Tract Society of New York, lnc.'s Supplemental Answers to Plaintiffs' First Set of
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WTNY further objects to the extent Interrogatory subpart (d) assumes the existence

of a non-existent duty.

        FIRST SUPPLEMENTAL ANSWER: WTNY objects on the grounds that

this Interrogatory goes beyond the 25 interrogatory limit provided in Rule 33(a)(l),

Fed.R.Civ.P. See, e.g., Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3,

2020). WTNY further objects to this Interrogatory to the extent that it seeks

information protected by the attorney-client and clergy-penitent privileges. See

WTNY's Fourth Supplemental Privilege Log. WTNY also objects to this

Interrogatory in that it is vague and ambiguous as to the terms "inappropriate

sexual contact" and "complaint" and "action you took." WTNY further objects to

the extent Interrogatory subpart (d) assumes the existence of a non-existent duty.

Subject to and without waiving these objections, WTNY provides the only non-

privileged information in its possession as follows based on the allegations of

Plaintiffs Tracy Caekaert, Camillia Mapley, Ariane Rowland, and Jamie Schulze:

             a) Plaintiffs Tracy Caekaert, Camillia Mapley, Ariane Rowland, and

                 Jamie Schulze.

            b) Between 1975 and 1989.

            c) WTNY was notified when it was served with Plaintiffs' lawsuits in

                 2020.




Defendant Watchtower Bible and Tract Society of New York, Inc.'s Supplemental Answers to Plaintiffs' First Set of
                                              Interrogatories- 7
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             d) WTNY was precluded from taking action as it became aware only

                 after the alleged abuse had ended and Plaintiffs were legal adults.

         INTERROGATORY NO. 28: Identify all complaints of inappropriate

sexual contact that have ever been made against Gunnar Hain. For each complaint,

state:

             a) When the complaint was made;

             b) Who made the complaint;

             c) What is alleged to have occurred;

             d) Who was notified of the complaint;

             e) Whether any WTNY was ever been notified of the complaint; and

             f) Whether WTNY took any action in response to the complaint.

         ANSWER: WTNY objects on the grounds that this Interrogatory goes

beyond the 25 interrogatory limit provided in Rule 33(a)(l), Fed.R.Civ.P. See, e.g.,

Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). When a party is

confronted with what it believes to be an excessive number of interrogatories, the

appropriate course of action is to either move for a protective order before

answering any interrogatories or "answer up to the numerical limit and object to

the remainder without answering." Capacchione v. Charlotte-Mecklenburg Schs.,

182 F.R.D. 486,493 n.4 (W.D.N.C. 1998) (citing 7 Moore's Federal Practice§

33.30[1]). See also Superior Sales W., Inc. v. Gonzalez, 335 F.R.D. 98, 103, 106


Defendant Watchtower Bible and Tract Society of New York, lnc.'s Supplemental Answers to Plaintiffs' First Set of
                                              Interrogatories- 8
